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10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                 No. CR 17-697-SJO

14               Plaintiff,                    GOVERNMENT’S OPPOSITION TO
                                               DEFENDANT’S ADMISSION OF FOREIGN
15                    v.                       DOCUMENTS; DECLARATION OF
                                               CHRISTINE M. RO; EXHIBITS
16   DANIEL FLINT,
                                               Trial Date:     October 16, 2018
17               Defendant.                    Trial Time:     9:00 a.m.
                                               Location:       Courtroom of the
18                                                             Hon. S. James Otero

19
20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Christine M. Ro and
23   Ian V. Yanniello, hereby files, pursuant to 18 U.S.C. § 3505(b), its
24   opposition to certain purported foreign records, attached hereto as
25   Exhibit A (collectively, the “Records”) that defendant Daniel Flint
26   intends to introduce at trial.        In summary, the Records do not meet
27   the test for admissibility nor do they bear sufficient indicia of
28   reliability or authenticity, such that they, or any of them, should
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1    be received in evidence.       Furthermore, beyond the question of whether

2    the Records are admissible or authentic, the Records appear to be

3    irrelevant and subject to exclusion under Federal Rule of Evidence

4    403 as more prejudicial than probative, too confusing, and likely to

5    consume an unreasonable amount of time relative to their value, if

6    any.

7           At a minimum, the government respectfully requests that the

8    Court preclude, in the nature of an in limine ruling, any reference

9    to or mention of the Purported Foreign Records during voir dire,
10   opening statement, or the government’s case-in-chief.

11          This opposition is based upon the attached memorandum of points

12   and authorities, the files and records in this case, the attached

13   Declaration of Christine M. Ro and supporting exhibits, and such

14   further evidence and argument as the Court may permit.

15    Dated: October 15, 2018              Respectfully submitted,

16                                         NICOLA T. HANNA
                                           United States Attorney
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18                                         Assistant United States Attorney
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19
20                                                /s/
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1                        MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    FACTS
3            A.    Defendant’s “Diplomatic Courier Claim” and Documents
4          On July 25, 2017, defendant Daniel Flint (“defendant”), an

5    attorney licensed in the states of Michigan and North Carolina,

6    claimed as he boarded a domestic U.S. flight from Chicago to Los

7    Angeles that he was a diplomatic courier so he could avoid the

8    screening requirements and transport to Los Angeles nearly $150,000

9    wrapped in plastic shopping bags that were contained in a larger
10   satchel purporting to be a “diplomatic pouch.”           Defendant told TSA

11   officers in Chicago that he was both a “diplomat” and “an attorney”

12   and showed the officers this document:

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22   (Dkt. 90-1 at 5.)
23         Defendant also produced a fraudulent “courier letter” and other
24   documents to support his claim that he was a diplomatic courier.
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1            B.    Defendant’s Prior Diplomat and “Attorney” Claims At
                   Chicago Airports
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3          The Court has already ruled that the government may introduce

4    certain facts surrounding defendant’s encounters at two Chicago

5    airports days before the charged offense conduct, during which

6    defendant made similar claims of diplomatic immunity while attempting

7    to board a plane with a purported diplomatic pouch. (Dkt. 35)             In one

8    of those encounters, TSA officers refused defendant entry past the

9    TSA checkpoint because TSA officers rejected defendant’s proffered
10   purported “diplomatic” documents.        In another of those encounters,

11   defendant actually made it through a TSA checkpoint using similar

12   documents and made his way to a secure area at LAX upon

13   disembarkation in Los Angeles.

14           C.    Defendant’s Claims To Be a “Diplomat” and “Attorney”
                   During a Traffic Stop
15

16         Pending before the Court is the government’s motion in limine to
17   admit at trial certain facts surrounding a traffic stop of defendant

18   that occurred about ten months before the present offense conduct.

19   (Dkt. 78)    Namely, in September 2016, a Michigan State Trooper
20   stopped defendant for driving with an expired registration.             During

21   that stop, defendant claimed that he was an attorney – specifically,

22   a “defense attorney” and a “civil rights attorney for the United

23   States” – and that he could not be arrested because he had

24   “diplomatic immunity.”       Defendant did not produce any evidence to

25   support his claims that he was a “civil rights attorney for the

26   United States” or that he had “diplomatic immunity,” and defendant
27   was later charged and pleaded guilty to a misdemeanor.

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1            D.    The Records
2          On October 2, 2018, the government received from the defense the

3    Records, consisting of 102 pages.        The defense stated that the

4    Records were produced under Fed. R. Crim. P. 16(b)(1)(A) (the general

5    reciprocal discovery rule) and that the defense intends to offer the

6    Records at trial pursuant to 18 U.S.C. § 3505(b).           The defense did

7    not indicate whether the defense intends to introduce the Records in

8    its case-in-chief.

9          The Records, bates numbered “Flint – 1” through “Flint – 102,”
10   are attached as Exhibit A to the Declaration of Christine M. Ro (“Ro

11   Decl.”).

12         The Records begin with a purported “Business Records Affidavit”

13   with the image of a signature for the affiant, Asra Khan, who

14   purportedly signed the document in Islamabad, Pakistan on August 30,

15   2018.    The affidavit refers to 98 pages of business records that are

16   purportedly “exact duplicates of the original.”           (Ro Decl., Exh. A,

17   Flint – 001.)     None of the attached documents, or the affidavit,

18   bears any indicia of authenticity that is common with foreign

19   records, such as an embossed seal, ribbon woven through brass
20   grommets punched through the collective documents, or “wet” or “live”

21   ink cover or container.       Nor was any mailer or other evidence of

22   transmission provided that might contain some evidence about the

23   source of the Records.

24         The Records contain items purportedly related to the “IHRC

25   Diplomatic Corps,” “International Human Rights Commission,”

26   “International Human Rights Commission -- Trust Relief Fund,”
27   including a notification purporting to appoint defendant as “Legal

28   Counsel & Diplomatic Courier” on October 20, 2016, approximately one

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1    month after the traffic stop in Michigan where defendant claimed that

2    he had “diplomatic immunity.”        (Id. at FLINT_099.)     Also contained

3    within the Records is what appears to be a photocopy of a laminated,

4    “Consular Identification Card” issued by the “United States

5    Department of State” for Robert Shumake as “Honorary Consul” for

6    Botswana/Tanzania.      (Id. at FLINT_100.)     That identification card

7    bears the notation, “Location Southfield Michigan.”            Id.1   The

8    Records also contain pages that purport to identify Mr. Shumake as a

9    diplomat of the International Human Rights Commission (“IHRC”) as
10   well.     (Ro Decl., Flint – 096.)     Finally, of particular relevance

11   here, is a letter that appears to be authentic, from the United

12   Nations, dated April 8, 2016, and granting “consultative status” to

13   the purported entity for which defendant (and Shumake) claim

14   diplomatic privileges.       (Id. at FLINT_042-FLINT_047.)       The letter

15   states that “consultative status does not entitle NGO’s any

16   privileges such as tax exemptions, diplomatic passports, travel

17   privileges, etc.”      (Id. at Flint -047 (emphasis added).)

18         There are two additional facts relevant to the present matter.

19   First, the government expects to call at trial during its case-in-
20   chief a representative of the U.S. Department of State about the

21   procedure for obtaining diplomatic courier status and privileges,

22   including that the State Department keeps a database of information

23   related to recognized diplomats, and defendant is not one of those

24   individuals.

25         Second, on October 4, 2018, FBI special agents called the

26   telephone number depicted on the back of the IHRC identification card
27

28         1 Defendant Flint’s website lists his office as located in
     Southfield, Michigan. http://www.flint-law.com/ContactMrFlint.html
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1    that defendant presented as part of his offense conduct.            The

2    substance of the call was memorialized in an FBI report of

3    investigation dated October 10, 2018 that has been produced to the

4    defense in discovery.      (Ro Decl., Exhibit B.)       As shown in that

5    report, an individual answered and identified himself as Mr. Muhammad

6    Shahid Amin Khan and World Chairman of the IHRC.           Mr. Khan identified

7    an individual named Asra Khan as the Representative for Foreign

8    Relations for the IHRC.       Mr. Khan stated multiple times that there is

9    no “IHRC Diplomatic Corps” and that members of IHRC are not
10   authorized and do not possess passports or diplomatic pouches.              He

11   further stated that IHRC had “honorary goodwill ambassadors” who do

12   not have true diplomatic status.        Mr. Khan did appear to know Mr.

13   Shumake as the Deputy Chairman of the IHRC but noted that Mr. Shumake

14   does not receive any special benefits for holding that position.                 Mr.

15   Khan stated that he did not know defendant.          Consistent with the

16   United Nations letter contained within the Records, Mr. Khan stated

17   that IHRC had “consultative” status (as described in that letter).

18   Mr. Khan further stated that, while IHRC does solicit donations, the

19   bank account for those donations was located in Pakistan, IHRC
20   discourages the transfer of money, and it would be abnormal for

21   someone in the United States who claimed to work on behalf of IHRC to

22   be moving hundreds of thousands of dollars at a time.            Mr. Khan

23   appeared to be aware of certain documents that are purportedly

24   business records of the IHRC, but he made clear the documents --

25   contrary to some of the Records produced by the defense -- did not

26   give the IHRC any legal rights in the United States and did not
27   impart diplomatic status to any individual.

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1    II.   ARGUMENT
2            A.    Applicable Law
3          18 U.S.C. § 3505(a)(1) provides that, in a criminal case, “a

4    foreign record of regularly conducted activity, or a copy of such

5    record,” is excepted from the hearsay rule provided that it meets the

6    test for admissibility similar to that of the business records rule

7    under Fed. R. Evid. 803(6). Specifically, the records may be received

8    if under cover of a “foreign certification” that:

9          (A) such record was made, at or near the time of the occurrence
10         of the matters set forth, by (or from information transmitted

11         by) a person with knowledge of those matters;

12         (B) such record was kept in the course of a regularly conducted

13         business activity;

14         (C) the business activity made such a record as a regular

15         practice; and

16         (D) if such record is not the original, such record is a

17         duplicate of the original,

18         unless the source of information or the method or circumstances

19         of preparation indicate a lack of trustworthiness.
20   18 U.S.C. § 3505(a)(1).       A motion opposing admission in evidence of

21   such records should be made before trial, with such objection to be

22   determined by the Court before trial.         18 U.S.C. § 3505(b).

23           B.    The Records Do Not Meet the Test For Admissibility
24         It is clear from the face of the proffered records that they do

25   not show that “the business activity [i.e., IHRC] made such record as

26   a regular practice.”      18 U.S.C. § 3505(a)(1).       Specifically, the
27   United Nations letter buried in the middle of the nearly 100 pages

28   appears to have been made not by the IHRC, but by or on behalf of the

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1    United Nations.      Mr. Khan’s telephonic statements are consistent with

2    that proposition.      Mr. Khan is the one person with the most knowledge

3    about IHRC and he has disputed virtually everything defendant has

4    proffered or suggested might support his defense.           Mr. Khan was

5    adamant that he does not know defendant Flint and that the IHRC does

6    not grant diplomatic courier privileges to its affiliates.2             The

7    foregoing indicates that the documents pertaining to defendant Flint

8    that are contained within the Records do not satisfy the test that

9    “the business activity made such a record as a regular practice[.]”
10         Next, the Records appear to contain a laminated document –

11   pertaining to Robert Shumake – that is consistent with documents

12   prepared by the U.S. Department of State, not by the IHRC. (See Id.

13   at FLINT_100.)     Preparation of that document could not have been part

14   of IHRC activity, and Mr. Khan’s statements plainly indicate that

15   IHRC does not have the power to grant privileges on behalf of the

16   U.S. Department of State.

17             C.   The Records Are Untrustworthy
18         Even a cursory examination of the Records raises serious doubts

19   about their trustworthiness.        As noted above, Mr. Khan -- the
20   purported “World Chairman” of the IHRC -- informed the FBI that the

21   IHRC does not issue diplomatic credentials or have diplomatic

22   couriers.      This alone undermines the trustworthiness of the purported

23   diplomatic credentials purporting to grant defendant and Mr. Shumake

24

25         2 The Court may consider the government’s proffer of Mr. Khan’s
     telephonic statements because, in connection with the Court’s
26   preliminary examination regarding the admissibility of evidence under
     Fed. R. Crim. P. 104(a), the rules of evidence do not apply. (“The
27   court must decide any preliminary question about whether a witness is
     qualified, a privilege exists, or evidence is admissible. In so
28   deciding, the court is not bound by evidence rules, except those on
     privilege.”) See also Fed. R. Evid. 1101(d)(1).
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1     protections under “the international protocols & status recognized by

2     Vienna Convention.”      (See Id. at FLINT_095-FLINT_099.)

3           Additionally, some of the documents raise questions about

4     whether they are forgeries rather than official business records.

5     For example, Mr. Shumake was purportedly issued “Diplomatic Identity

6     Card: HQ-A02010/16” on May 5, 2015.         (Id. at FLINT_095.)     The Records

7     also contain a full-page image of card “HQ-A02010/16,” which

8     references that the IHRC has “Special Consultative Status with UN

9     ECOSOC.”    (Id. at FLINT_096.)     However, as noted above, the United
10    Nations document that purports to “grant special consultative status”

11    to the IHRC is dated April 8, 2016, see Id. at FLINT_042 -- nearly a

12    year after Shumake’s identification card was allegedly manufactured.

13          Notably, the government originally received many of the

14    documents that defendant now contends are IHRC “business records”

15    from Mr. Shumake’s civil attorney in the forfeiture action pending

16    before this Court.     (See Ro Decl., Ex. C at 2 (stipulation listing 14

17    documents provided to the government).)         Although not included in the

18    Records, Shumake’s attorney provided the government with other

19    documents that relate to this motion.         For example, Mr. Shumake’s
20    counsel produced “USA Donation Receipt” letters from Mr. Shumake that

21    purport to thank donors for their “very generous donation[s]” of

22    $40,000-50,000 in cash.      (See Ro Decl., Ex. D.)        These documents are

23    dated in June 2017 -- a month before the charged conduct in this case

24    -- but the letterhead, business address, and website address noted on

25    these documents conflicts with the information listed on the courier

26    letters Flint used in July 2017.        (Compare Ex. D with Ex. E (July 24,
27    2017 courier letter).)      These documents, too, raise serious concerns

28    about the trustworthiness of the Records as a whole.

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1            Other documents portions of pages that are obstructed or

2     missing, see Id. at FLINT_027-FLINT_041, and still others have

3     portions with font sizes much smaller than the remaining document,

4     see Id. at FLINT_010 (compare “TRAVEL DOCUMENTS (PASSPORT)” with

5     other headings).

6           Further, unlike foreign records that might typically be

7     introduced, the mere copies without any authentic originals to

8     inspect are simply insufficient to conclude that they are based on

9     genuine documents.     There are no seals, ribbons, or other indicia of
10    genuineness evident on the copies.

11            D.    The Records Are Irrelevant and Inadmissible under Federal
                    Rules of Evidence 402 and 403
12

13          Beyond the foundation issues, the Records are irrelevant.

14    Because the Records have been proffered as part of an affirmative

15    defense or as part of the defendant’s case-in-chief, the defense

16    should be required to proffer a linkage between the Records and some

17    aspect of the defense or the negation of an element of the charged

18    offense.     Even if the defense were to proffer that defendant will

19    testify, there should be some showing, before he does so and before
20    the Records are mentioned at all, that a specific record informed his

21    state of mind on which he asserted his claim of diplomatic immunity.

22          Next, the Records are confusing, difficult to understand, and

23    will take a substantial amount of time for even the proffering party

24    to explain to a jury, such that they are substantially more

25    prejudicial than probative.       This is particularly so given the FBI’s

26    phone call with Mr. Khan (the purported affiant certifying the
27    Records), suggesting that many (if not all) of the documents are

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1     illegitimate and thus not fairly encompassed by the business records

2     exception.

3     III.    CONCLUSION
4            For the foregoing reasons, the government respectfully opposes

5     the admission of the Records in evidence and requests that the

6     Records be excluded.

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